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                                                                      Cred Inc.
                                                               Case No. 20‐12836 (JTD)
First Name    Last Name    Party Representing                                        Firm Name
David         Hurst        Cred Inc. Liquidation Trust                               McDermott Will & Emery LLP
Darren        Azman        Cred Inc. Liquidation Trust                               McDermott Will & Emery LLP
JOSEPH        Sarachek     Premoli                                                                                        6468614950
Howard        Robertson    UpgradeYa Investments, LLC                                Landis Rath & Cobb
Juliet        Sarkessian   US Trustee
Evan          Wu           Self
Matthew       Dundon       Cred Inc Liquidating Trust                                Dundon Advisers LLC
Michael       Delaney      Uphold HQ Inc.                                            BakerHostetler LLP
Edward        Neiger       Uphold Plaintiffs                                         ASK LLP
Becky         Yerak        Wall Street Journal                                       News Corp
Jason         Gibson       Winslow Carter Strong                                     The Rosner Law Group LLC
Mary          Augustine    Uphold Plaintiffs                                         A.M. Saccullo Legal, LLC
Rachel        Geman        Plaintiffs                                                Lieff Cabraser Heimann & Bernstein, LLP
Cedric        Delisser     Trustee of Cred Inc. Liquidation Trust                    Trustee of Cred Inc. Liquidation Trust
Jorian        Rose         Uphold HQ, Inc.                                           Baker & Hostetler LLP
Gregg         Steinman     Cred Inc. Liquidation Trust                               McDermott Will & Emery LLP
Eyal          Berger       JST Capital, LLC                                          Akerman LLP
Jeffrey       Lyons        Uphold HQ Inc.                                            Baker & Hostetler LLP
Eric          Reubel       Financial Advisor for Cred Inc. Liquidation Trust         Dundon Advisers, LLC
Judge         Dorsey       U.S. Bankruptcy Judge
Mathew        Pierce       Interested Party                                          Landis Rath & Cobb
Christopher   Coleman      Uphold Plaintiffs                                         Lieff Cabraser Heimann & Bernstein
